       Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 1 of 23




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,

v.                                             Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.



        DECLARATION OF J. ALEX HALDERMAN IN SUPPORT OF
     CURLING PLAINTIFFS’ RESPONSE TO STATE DEFENDANTS’
       REQUEST FOR STATUS CONFERENCE AND NOTICE OF
         DECERTIFICATION OF GEMS/DRE SYSTEM AND
           CURLING PLAINTIFFS’ REQUEST FOR HEARING


       Pursuant to 28 U.S.C. § 1746, J. ALEX HALDERMAN declares under

penalty of perjury that the following is true and correct:

      1.    Although Georgia recently decertified its old GEMS/DRE election

equipment, forensic analysis of a portion of that equipment remains highly relevant

to assessing the security of the state’s BMD-based voting system.

      2.    Important components of Georgia’s election technology will remain

the same despite the replacement of the EMS servers and polling place equipment.

These components include:
         Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 2 of 23




               (a)    The Secretary of State’s computer network;

               (b)    The non-“air gapped” computers used by state and county

                      workers and contractors to transfer data into and out of the

                      EMS;

               (c)    The eNet voter registration database software and data therein,

                      and the My Voter Page service.

        3.     These components will continue to be used with the BMD-based

voting system, including to process ballot programming and voting registration data

that will be copied to the new equipment. Data from the existing, vulnerable voter

registration database is being imported into the new EMS and pollbooks.1 The

record in this matter contains abundant evidence about vulnerabilities in all these

components, some of which were unmitigated for years and may still be

unmitigated.

        4.     I am in the process of analyzing the FBI’s hard disk image from the

KSU Center for Election Systems server. My analysis so far shows that the

vulnerable server was used for years to distribute GEMS databases, software, and

other files that could be used to spread malware. If attackers infiltrated the KSU

server, as Logan Lamb did, they could have infected these files and thereby spread


1
    Dkt. 556 at p3.

                                           2
       Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 3 of 23




malware to the computers on which state and county workers downloaded them.2

Although the KSU server itself was decommissioned in 2017, many of these

potentially infected computers likely remain in use with the BMD-based system.

      5.     If attackers infiltrated any of the components discussed above to attack

the GEMS/DRE system, they likely continue to have access to those components,

because it is difficult to expel sophisticated attackers from a computer system once

it is breached. Such access would provide the attackers a foothold from which to

attack the new EMSes, BMDs, scanners, and pollbooks. In order to establish

whether the BMD-based system is at imminent risk of compromise, Plaintiffs seek

to determine whether attackers already have such access.

      6.     In principle, it might be possible to detect such an infiltration by

conducting detailed forensics of the Secretary of State’s computer infrastructure and

of the hundreds of state, county, and contractor computers that interface with the

election system. However, this is impractical, for several reasons:

             (a)    These computers are used for many different purposes, and so

                    there are hundreds of distinct software configurations involved,

                    each of which would need to be analyzed separately.


2
 I received the server data on December 27, 2019 and have been traveling much of
the time since, so I have only just begun the analysis. My evaluation will include
looking for signs that the server was actually breached and used to spread malware.

                                          3
       Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 4 of 23




             (b)    To my knowledge, there does not exist an inventory of all the

                    computers that are ever used to interface with Georgia’s

                    election system, and so it is not possible to select a meaningful

                    statistical sample for review.

             (c)    Since these components continue to be used for election

                    administration, creating forensic images could be logistically

                    challenging and would require special security precautions.

      7.    Instead, Plaintiffs seek to determine whether attackers have infiltrated

Georgia’s voting system by analyzing a statistical sample of the decommissioned

GEMS servers, DREs, and ExpressPolls. If attackers managed to infect this

equipment, they likely did so by first infiltrating other election system components

from the categories that remain in use. Detecting an infection in the old equipment

likely would point to current components that are also infected.

      8.    Conducting such a forensic analysis would be relatively efficient and

straightforward. The GEMS servers, DREs, and ExpressPolls have standard

configurations, and there exists a clean build of the software for each kind of

device. These factors make checking for the presence of malware far more efficient

than with desktop computers and servers in general. Since all the equipment is

slated for recycling, forensically imaging a portion of it can be done without


                                          4
        Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 5 of 23




interfering with ongoing election activities. The State maintains detailed inventories

of the equipment, so it will be possible to select a statistically valid sample as soon

as these records are provided. Moreover, I have already developed software for

forensic imaging and analysis of voting machines, which we can apply

immediately.

      9.     To my knowledge, no one has ever forensically imaged any of

Georgia’s decommissioned equipment. Absent an analysis now, whatever evidence

it contains about whether attackers have infiltrated current voting system

components will be lost when the equipment is recycled.

BMD Security Study

      10.    Attached as Appendix A is a research paper I co-authored entitled,

“Can Voters Detect Malicious Manipulation of Ballot Marking Devices?” I referred

to findings from this study in my declarations of October 2 and December 16, 2019.

The paper has been peer reviewed and will be published tomorrow by the IEEE as

part of the Proceedings of the 41st IEEE Symposium on Security and Privacy.




                                           5
       Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 6 of 23




      I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 8th day of January 2020 in Melbourne, Australia.




                                      J. ALEX HALDERMAN




                                         6
Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 7 of 23




        APPENDIX A
                Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 8 of 23



            Can Voters Detect Malicious Manipulation
                  of Ballot Marking Devices?
Matthew Bernhard, Allison McDonald, Henry Meng, Jensen Hwa, Nakul Bajaj∗ , Kevin Chang, J. Alex Halderman

                                      University of Michigan          ∗ The   Harker School


   Abstract — Ballot marking devices (BMDs) allow voters to          However, BMDs do not eliminate the risk of vote-stealing
select candidates on a computer kiosk, which prints a paper       attacks. Malware could infect the ballot scanners and change
ballot that the voter can review before inserting it into a scanner
                                                                  the electronic tallies — although this could be detected by
to be tabulated. Unlike paperless voting machines, BMDs provide
voters an opportunity to verify an auditable physical record      rigorously auditing the paper ballots [50] — or it could infect
of their choices, and a growing number of U.S. jurisdictions      the BMDs themselves and alter what gets printed on the ballots.
are adopting them for all voters. However, the security of        This latter variety of cheating cannot be detected by a post-
BMDs depends on how reliably voters notice and correct any        election audit, since the paper trail itself would be wrong, and
adversarially induced errors on their printed ballots. In order toit cannot be ruled out by pre-election or parallel testing [51].
measure voters’ error detection abilities, we conducted a large
study (N = 241) in a realistic polling place setting using real   Instead, BMD security relies on voters themselves detecting
voting machines that we modified to introduce an error into       such an attack. This type of human-in-the-loop security is
each printout. Without intervention, only 40% of participants     necessary in many systems where detection and prevention of
reviewed their printed ballots at all, and only 6.6% told a poll  security hazards cannot be automated [18]. However, as several
worker something was wrong. We also find that carefully designed  commentators have recently pointed out [7], [20], [51], its
interventions can improve verification performance. Verbally
instructing voters to review the printouts and providing a writteneffectiveness in the context of BMDs has not been established.
slate of candidates for whom to vote both significantly increased    Whether such a misprinting attack would succeed without
review and reporting rates — although the improvements may        detection is highly sensitive to how well voters verify their
not be large enough to provide strong security in close elections,printed ballots. Every voter who notices that their ballot is
especially when BMDs are used by all voters. Based on these       misprinted and asks to correct it both adds to the evidence
findings, we make several evidence-based recommendations to
help better defend BMD-based elections.                           that there is a problem and requires the attacker to change an
                                                                  additional ballot in order to overcome the margin of victory.
                       I. I NTRODUCTION                           Consider a contest with a 1% margin in which each polling
   The threat of election hacking by hostile nations has place has 1000 voters. If voters correct 20% of misprinted
prompted a major push to ensure that all voting systems in the ballots, minimal outcome-changing fraud will result in an
United States have voter-verifiable paper trails, a defense rec- average of 1.25 voter complaints per polling place — likely too
ommended by the National Academies [36], the Senate Select few to raise alarms. If, instead, voters correct 80% of misprinted
Committee on Intelligence [53], and nearly all election security ballots, polling places will see an average of 20 complaints,
experts. Guided by past research [8], some states and localities potentially prompting an investigation. (We model these effects
are implementing paper trails by deploying ballot-marking in Section V.) Despite this sensitivity, voters’ BMD verification
devices (BMDs). In these systems, the voter makes selections performance has never before been experimentally measured.
on a computer kiosk, which prints a paper ballot that the voter      In this paper, we study whether voters can play a role in
can review before inserting it into a computer scanner to be BMD security. We first seek to establish, in a realistic polling
counted [56]. BMDs have long been used as assistive devices place environment, the rates at which voters attempt to verify
for voters with disabilities, and a growing number of jurisdic- their printed ballots and successfully detect and report malicious
tions are purchasing them for use by all voters [24], [25], [37]. changes. To measure these, we used real touch-screen voting
   BMDs have the potential to provide better security than machines that we modified to operate as malicious BMDs. We
direct-recording electronic voting machines (DREs), which recruited 241 participants in Ann Arbor, Michigan, and had
maintain the primary record of the voter’s selections in a them vote in a realistic mock polling place using the ballot
computer database and often lack a voter-verifiable paper trail. from the city’s recent midterm election. On every ballot that
Numerous studies have demonstrated vulnerabilities in DREs our BMDs printed, one race was changed so the printout did
that could be exploited to change election results (e.g., [11], not reflect the selection made by the participant.
[23], [31], [35]). In contrast, BMDs produce a physical record       We found that, absent interventions, only 40% of participants
of every vote that can, in principle, be verified by the voter reviewed their printed ballots at all, only 6.6% reported the error
and manually audited by officials to confirm or correct the to a poll worker, and only 7.8% correctly identified it on an exit
initial electronic results.                                       survey. These results accord with prior studies that found poor
                 Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 9 of 23


voter performance in other election security contexts, such as                   II. BACKGROUND AND R ELATED W ORK
DRE review screens [1], [15] and voter-verifiable paper audit A. Human-Dependent Security
trails (VVPATs) [48]. The low rate of error detection indicates
that misprinting attacks on BMDs pose a serious risk.                   Elections fundamentally depend on having humans in the
   The risks notwithstanding, BMDs do offer practical advan-         loop  — as Stark [51] notes, the voter is the only one who
tages compared to hand-marked paper ballots. They allow              knows    whether the ballot represents their intended vote — and
voters of all abilities to vote in the same manner, provide a        the  success    or failure of election security has the potential
more user-friendly interface for voting, and more easily support     to  have  history-altering      effects. The type of risk posited by
complex elections like those conducted in multiple languages or      Stark, wherein    voters   do   not   check their paper ballots to ensure
with methods such as ranked choice [44]. BMDs also simplify          the  BMD    has   correctly    represented     their selections, is a post-
election administration in places that use vote centers [56],        completion     error   [14],   in  which    a  user  makes a mistake (or
which have been shown to reduce election costs and lower provi-      fails to  verify   the  correctness      of something)     after they have
sional voting rates [28], [42], as well as in jurisdictions that em- completed    the  main    goal  of   their task. Voters  who   forget or do
ploy early voting, which can improve access to the ballot [30].      not  know   to  verify   the  correctness     of a paper  ballot  after they
   Given these advantages and the fact that BMDs are already         have  entered   their   selections     on a BMD     miss  a critical step in
in use, the second goal of our study was to determine whether        ensuring   the  accuracy    of   their  vote.  We   therefore  explore  how
it might be possible to boost verification performance through       to communicate        this risk   to  voters.
procedural changes. We tested a wide range of interventions,            Cranor [18] describes five ways that designers can commu-
such as poll worker direction, instructional signage, and usage      nicate  risk to a user who needs to make security decisions:
of a written slate of choices by each voter.                           1)  Warnings:     indication the user should take immediate action
   The rate of error detection varied widely with the type of          2)  Notices:   information      to allow the user to make a decision
intervention we applied, ranging from 6.7% to 86% in different         3)  Status  indicators:     indication    of the status of the system
experiments. Several interventions boosted review rates and            4)  Training:     informing      users   about   risks and mitigations
discrepancy reporting. Verbally encouraging participants to                before   interaction
review their printed ballot after voting boosted the detection rate    5) Policies: rules with which users are expected to comply
to 14% on average. Using post-voting verbal instructions while          Implementing indicators that reveal meaningful information
encouraging participants to vote a provided list of candidates to voters about the security status of a BMD would be next to
raised the rate at which voters reported problems to 73% for impossible, as security issues are often unknown or unforeseen
voters who did not deviate from the provided slate.                  to the operators. Although voter education about the importance
   These findings suggest that well designed procedures can of verification might be an effective form of training, significant
have a sizable impact on the real-world effectiveness of voter coordination would be necessary to enact such a scheme at
verification. We make several recommendations that election scale. Therefore, we focus in this study on the effectiveness of
officials who already oversee voting on BMDs can employ warnings issued through poll worker scripts and polling place
immediately, including asking voters if they have reviewed signage.
their ballots before submission, promoting the use of slates            A warning serves two purposes: to alert users to a hazard, and
during the voting process, informing voters that if they find an to change their behavior to account for the hazard [62]. There
error in the printout they can correct it, and tracking the rate are many barriers to humans correctly and completely heeding
of reported errors. Our recommendations echo similar findings security warnings. Wogalter proposes the Communication-
about the most effective ways to alert users to other security Human Information Processing (C-HIP) Model [61] to sys-
hazards (i.e., in context [12] and with active alerts [21]) and tematically identify the process an individual must go through
redirect them to take action.                                        for a warning to be effective. The warning must capture and
   Although our findings may be encouraging, we strongly cau- maintain attention, which may be difficult for voters who
tion that much additional research is necessary before it can be are attempting to navigate the voting process as quickly as
concluded that any combination of procedures actually achieves possible. Warnings must also be comprehensible, communicate
high verification performance in real elections. Until BMDs the risks and consequences, be consistent with the individual’s
are shown to be effectively verifiable during real-world use, the beliefs and attitudes toward the risk, and motivate the individual
safest course for security is to prefer hand-marked paper ballots. to change — all of which are substantial impediments in an
Road Map Section II provides more background about human environment with little to no user training and such a broad
factors and security and about previous work studying the role user base as voting.
of voter verification in election security. Section III describes       To maximize effectiveness, warnings should be contextual,
our experimental setup, voting equipment, and study design. containing as little information as necessary to convey the risk
Section IV presents our results and analyzes their significance. and direct individuals to correct behavior [12], [61]. Voters
Section V provides a quantitative model for BMD verification are essentially election security novices; Bravo-Lillo et al. [12]
security. Section VI discusses the results, avenues for future found that, in the context of computer security, advanced and
work, and recommendations for improving the verifiability of novice users respond to warnings differently. Most significantly,
BMDs. We conclude in Section VII.                                    novice users assessed the hazard after taking action, whereas



                                                                       2
              Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 10 of 23


advanced users assessed the hazard before engaging in the              BMDs statewide [24], [25], as have several counties and cities,
activity.                                                              including Los Angeles County, the largest single election
   There may be effective ways to improve voter verification           jurisdiction in the U.S. [58].
performance. Many studies have applied lessons from Cranor,                There has been vigorous debate among election security
Wogalter, and Bravo-Lillo et al. to help humans make secure            experts as to whether BMDs can provide software-independence
choices in different contexts, including phishing [21], [41],          (e.g., [7], [20], [51], [60]). However, the discussion has yet to
browser warnings [2], [46], [52], app permissions [3], [40],           be informed by rigorous experimental data. Our work seeks to
and operating system interfaces [13]. In the context of phishing       fill that gap by contributing the first human-subjects study to
warnings, for example, Egelman et al. [21] found that users            directly measure the verification performance of voters using
were far more likely to heed an active warning, or a warning           BMDs under realistic conditions and with a variety of potential
that disrupted their workflow, than a passive warning. This            procedural interventions.
suggests that similar interventions applied in a polling place
may have a significant effect on voters’ ability to review and                       III. M ATERIALS AND M ETHODS
verify their BMD ballots.                                                 Our goals in this work were to empirically assess how well
   Our study contributes to this literature by exploring the           voters verify BMD ballots and whether there are steps election
effects of several modalities of warnings (oral and visual) on         officials can take that will enhance verification performance.
human detection of malicious ballot modification.                      To these ends, we conducted a between-subjects study where
B. Voter-Verifiable Paper and Ballot-Marking Devices                   we tested several hypotheses in a simulated polling place,
                                                                       following the best practices recommended by Olembo et al. [39]
   A guiding principle in election security is that voting systems     for election human-factors research. The study design was
should be software independent [47]: that is, any software errors      approved by our IRB.
or attacks that change the reported election outcome should be            We sought to answer several questions, all of which concern
detectable. Bernhard et al. [9] note that elections backed by          the rate at which voters are able to detect that a BMD-printed
a voter-verifiable paper record are currently the only known           ballot shows different selections than those the voter picked:
way to provide robust software independence. Like BMDs,
                                                                          • What is the base rate of error detection?
voter-verifiable paper audit trails (VVPATs) and hand-marked
                                                                          • Is error detection impacted by:
paper ballots are widely used in an attempt to achieve software
independence. However, each poses a different set of usability               – Ballot style?
and accessibility challenges.                                                – Manipulation strategy?
   Hand-marked paper ballots record the voter’s selections                   – The manipulated race’s position on the ballot?
without the risk of having a potentially compromised computer                – Signage instructing voters to review their ballots?
mediating the process. However, voters often make mistakes                   – Poll worker instructions?
when filling out ballots by hand that can lead to them being                 – Providing a slate of candidates for whom to vote?
counted incorrectly or ruled invalid [27]. Moreover, many                 In order to answer these questions in an ecologically valid
voters have difficulty marking a paper ballot by hand due              way, we attempted to create an environment that closely
to a disability or a language barrier. Ballots in the U.S. are         resembled a real polling place. Nevertheless, it is impossible
among the most complex in the world, further magnifying                for any experiment to fully recreate what is at stake for voters
these difficulties [38].                                               in a real election, and so study participants may have behaved
   VVPAT technology also suffers from noted usability, privacy,        differently than voters do in live election settings. We went to
and auditability problems [26]. Most implementations consist           extensive lengths to mitigate this limitation, and we find some
of clunky printer attachments for DREs that are difficult for          data to support that we did so successfully (see Section VI-A).
voters to read, record votes in the order in which they are            We used real (though modified) voting machines, printers and
cast, and use a fragile paper tape. In laboratory studies, Selker      paper stock from deployed BMD systems, a ballot from a real
et al. [48] and de Jong et al. [19] found that voters frequently       election, and ballot styles from two models of BMDs. We
did not review the VVPAT, with Selker finding that only 17%            conducted the study at two city library locations, one of which
of voters detected changes between the selections they made            is used as a polling place during real elections.
on the DRE and those printed on the VVPAT. While there has
been some criticism of Selker’s findings and methodology [45], A. The Polling Place
[49], their results broadly comport with work by Campbell            To provide a realistic voting experience, we structured our
et al. [15] and Acemyan et al. [1] about voters’ ability to detect simulated polling place like a typical BMD-based poll site.
errors introduced in DRE review screens. The latter found that Three investigators served as poll workers, following the script
only 12–40% of participants successfully detected such errors. in Appendix A. Library patrons who were interested in voting
   In part due to the concerns raised by these studies, BMDs began at a check-in table, where they were greeted by Poll
have become a popular choice for new voting system de- Worker A and asked to sign an IRB-approved consent form. Par-
ployments in the United States. South Carolina and Georgia, ticipants were told they would be taking part in “a study about
together comprising nearly 9 million voters, recently adopted the usability of a new type of voting machine” and instructed



                                                                   3
               Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 11 of 23




Fig. 1: Polling Place Setup. We established mock polling places at two public libraries in Ann Arbor, Michigan, with three
BMDs (left) and an optical scanner and ballot box (right). Library visitors were invited to participate in a study about a new kind
of election technology. The BMDs were DRE voting machines that we modified to function as malicious ballot marking devices.


on how to use the equipment, but they were not alerted that the ally a one- or two-person line formed as participants waited
study concerned security or that the BMDs might malfunction. to use the BMDs or the ballot scanner.
   Each participant received a voter access card with which
to activate a BMD and was free to choose any unoccupied B. The Voting Machines
machine. There were three identical BMDs, as shown in
Figure 1. On the last day of the study, one machine’s memory         BMD voting systems are currently produced by several vot-
became corrupted, and it was removed from service; all votes     ing   machine manufacturers, the largest of which is ES&S. Over
that day were recorded on the other two machines.                a  six  month period, we repeatedly attempted to engage ES&S
   The BMDs displayed contests in a fixed order, and voters      in  discussions    about acquiring samples of their equipment for
made selections using a touch screen interface. After the last   this  study.  However,     these attempts were ultimately not fruitful.
contest, the machines showed a review screen that accurately         Instead,  we   utilized   AccuVote TSX DRE voting machines,
summarized the voter’s selections and highlighted any un-        which     we   purchased     on   eBay and modified to function as
dervotes. The voter could return to any contest to change the    BMDs.      The   TSX    was  first produced by Diebold in 2003 and
selections. A “Print Ballot” button ended the voting session and is  still widely   deployed    today.  At least 15 states plan to use it
caused a printer under the machine to output the paper ballot.   in  at  least some    jurisdictions   in November 2020 [57].
   Participants carried their ballot across the polling place        The   TSX    runs  Windows     CE   and  is designed to function as
to the ballot scanner station, where they inserted them into     a  paperless    DRE    or  a VVPAT     system.  We developed software
an optical scanner that deposited them into a ballot box.        modifications     that  allow  it to print ballots in multiple styles us-
Poll Worker B was stationed by the scanner and offered           ing   an  external  printer. This   effectively converts the TSX into a
instructions if necessary. Next, the poll worker collected the   BMD      —  and  one  we   could  easily cause  to be dishonest — while
voter access card and asked each participant to complete an      preserving     the  original  touch-screen    interface used  by voters.
exit survey using a laptop next to the scanning station. The         In order to modify the machine, we built on techniques used
survey was anonymous, but responses were keyed so that we by Feldman et al. [23]. We began by patching the firmware
could associate them with the voter’s on-screen selections, so that, when the machine boots, it attempts to execute a
their printed ballot, and poll worker notes.                     program provided on an external memory card. We used this
   Poll Worker C, positioned separately from the other stations, functionality to launch a remote access tool we created, which
acted as an observer. They verified that participants moved allowed us to connect to the TSX over a network and perform
through the polling place stations sequentially, noted whether file system operations, run applications, and invoke a debugger.
they spent time reviewing their printed ballots, and recorded        The TSXes in our polling place were connected to an
whether they appeared to notice any abnormalities. The observer Ethernet switch using PCMCIA network adapters. A Python
was also tasked with noting participant behavior, specifically program, running on a computer on the same network, used the
how the participants completed each step in the voting process remote access tool’s API to poll each machine for newly voted
and any comments they made. The observer was available ballots. Whenever a ballot was cast, the program parsed the
to answer participant questions and was frequently the poll selections, generated a PDF file based on them, and sent it to a
worker participants approached upon noticing a discrepancy.      printer located underneath the appropriate voting machine. The
   Like in a real polling place, multiple participants could program could be configured to apply different ballot styles
progress through the voting process simultaneously. Occasion- and cheating strategies, depending on the experiment.



                                                                    4
                Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 12 of 23


   For every ballot, the program randomly selected one race to
manipulate. In most experiments, selections could be changed
in three ways: deselection in a voted-for race, selection in
an unvoted-for race, or changing a selection to a different
candidate. We ensured that some alteration would take place
on every ballot. For example, in a vote-for-one race where
the voter had made a selection, the algorithm would choose
uniformly from the set of unselected choices plus no selection.
One experiment used a different strategy, in which choices
could only be deselected.
   Both the voter’s original selections and the manipulated
ballot were logged for later analysis. Each voting session was
associated with a unique tracking number, which was printed
on the ballot along with a timestamp and encoded as a barcode.
   As the final step in the voting process, participants fed their
printed ballots into an AccuVote OS optical scanner, a device
used to tabulate votes in parts of 20 states [57]. The scanner
was intended to add realism to the experiment, but AccuVote
OSes are not capable of actually tabulating the ballot styles
we used. Therefore, we modified the scanner so that it simply
fed each ballot into the ballot box without counting it.
   We mounted a barcode reader in a 3-D printed case above
the scanner’s input tray and positioned it so that it would
detect the ballot’s tracking barcode. (This setup can be seen in
Figure 3.) When the barcode was read, a Raspberry Pi would
activate the AccuVote OS’s feed motor to pull the ballot into the
ballot box. The Raspberry Pi also displayed the ballot tracking
number so that poll workers could associate the ballot with                                     (a) Regular Ballot
the participant’s exit survey response and the observer’s notes.
C. The Ballot
   In order to ensure a realistic voting experience and increase
participants’ psychological investment in the outcome of
the mock election, we used races and candidates from the
city’s actual ballot for the recent 2018 midterm election. For
simplicity, we reduced the ballot to the first 13 races so that
ballots would not require duplex printing or multiple pages.
   We tested two ballot styles, which are illustrated in Figure 2.
One is a regular ballot that shows the entire set of candidates
in every race. The other is a summary ballot, which shows
only the voter’s selections or “NO SELECTION” if a choice is
left blank. Most BMDs print ballots that resemble these styles.
   The specific visual designs we used mimic ballots produced
by two models of BMDs manufactured by Hart InterCivic,
which also makes the voting equipment used in Ann Arbor.
The regular style is also the same design as the hand-marked
paper ballots most Ann Arbor voters use, ensuring that many
participants found it familiar. These designs are used in
jurisdictions that collectively have over 10 million registered
voters [57].
                                                                                               (b) Summary Ballot
   The model of laser printer we used, Brother HL-2340, is
certified for use with Clear Ballot’s ClearAccess BMD sys-               Fig. 2: Ballot Styles. We tested two ballot styles: (a) a regular
tem [43], so we chose paper stock that meets the specifications          style, resembling a hand-marked ballot; and (b) a summary
for ClearAccess [16]. Summary ballots were printed on regular            style, listing only the selected candidates. Both had 13 races
weight 8.5×11 inch letter paper, while regular ballots were              from the city’s recent midterm election. In one race, determined
printed on Vellum Bristol stock 67 pound 8.5×14 inch paper.              randomly, the printed selection differed from the voter’s choice.



                                                                     5
                 Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 13 of 23


D. Participants and Recruitment
   To gather subjects for our study, we approached staff at the
Ann Arbor District Library (AADL), who offered space for
us to set up our mock precinct. We conducted a total of three
days of data collection in July and September 2019 at two
library locations: the Downtown and Westgate branches. The
Downtown branch, where our study was held for two of the
three days, is an official polling location during real elections.
   The AADL advertised our study through its social media
feeds and offered incentives to patrons for their participation,
such as points for a scavenger hunt competition [5] and souvenir
flashlights [6]. We also set up a fourth voting machine outside
of the mock precinct where kids could vote in an election for
mayor of the library’s fish tank.1 Results from that machine
were not used as part of this study, but it served as a recruitment
tool for parents visiting the library with their children. In
addition, we verbally recruited patrons who happened to be at
the libraries during our study, using the script in Appendix B.
   Participants were required to be at least 18 years of age
and to sign an IRB-approved consent form. All data collected,
including survey responses and behavioral observations, was
completely anonymous. We informed participants that they
were not required to vote their political preferences.

E. Experiments
   To explore what factors affect voter verification performance,                  Fig. 3: Warning Signage. One of the interventions we tested
we devised nine experiments to run between subjects. In                            was placing a sign above the scanner that instructed voters to
all experiments, for every participant, one selection that the                     verify their ballots. Signage was not an effective intervention.
participant made on the BMD was not accurately reflected
on the printed ballot. Every participant within an experiment
received the same instructions from the poll workers, following                    Figure 3. We designed the sign following guidelines from the
the script and variants in Appendix A.                                             U.S. Election Assistance Commission [55].
   The first three experiments were designed to measure                            E5: Script variant 1 During voter check in, the poll worker
verification in the absence of protective interventions. They                      added this instruction: “Please remember to check your ballot
varied the ballot style and manipulation strategy:                                 carefully before depositing it into the scanner.”
E1: Regular ballots We used the regular ballot style and the                       E6: Script variant 2 When the voter approached the scanner,
default manipulation strategy, in which a selection could be                       the poll worker said: “Please keep in mind that the paper ballot
switched, deselected, or selected if left blank by the voter.                      is the official record of your vote.”
E2: Summary ballots We used the summary ballot style
                                                                                   E7: Script variant 3 When the voter approached the scanner,
and the default manipulation strategy. As discussed in Sec-
                                                                                   the poll worker said: “Have you carefully reviewed each
tion IV, we found no significant difference in error detection
                                                                                   selection on your printed ballot?”
between regular ballots and summary ballots, so all subsequent
experiments used summary ballots.                                                     The final two experiments assessed whether reminding
                                                                                   participants of their selections during verification improved their
E3: Deselection only To assess the sensitivity of voters to the
                                                                                   performance. We gave voters a slate of candidates for whom
way their ballots were changed, we limited the manipulation
                                                                                   to vote that they could carry with them throughout the voting
to deselecting one of the voter’s choices at random.
                                                                                   experience. While we refer to this as a slate, a sample ballot that
   Four further experiments tested interventions to determine                      the voter filled in before voting could serve the same purpose.
if they improved error detection. We tried posting a sign and                      Every voter received the same slate (Appendix C), which was
having poll workers give different instructions at various times:                  randomly generated and contained an even mix of parties.
E4: Signage A sign was placed above the scanner that                               E8: Slate with script variant 2 Voters were given the slate.
instructed voters to check their printed ballots, as shown in                      Poll workers encouraged verification with script variant 2.
   1 Mighty Trisha unexpectedly beat Creepy Bob, leading some Bob supporters       E9: Slate with script variant 3 Voters were given the slate.
to complain that the results were fishy [4].                                       Poll workers encouraged verification with script variant 3.



                                                                               6
               Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 14 of 23


                                                           Were observed         Reported error       Reported error
               Experiment                           N
                                                         examining ballot        on exit survey       to poll worker
               Without interventions:
                 E1: Regular ballots                31              41.9%                 6.5%                 6.5%
                 E2: Summary ballots                31              32.3%                 6.5%                 6.5%
                 E3: Deselection only               29              44.8%                10.3%                 6.9%

                 Subtotal/Mean                      91              39.7%                 7.8%                 6.6%
               With interventions:
                 E4: Signage                        30               13.3%                3.3%                6.7%
                 E5: Script variant 1               30               46.7%               13.3%                6.7%
                 E6: Script variant 2               25               92.0%               16.0%               16.0%
                 E7: Script variant 3               31               38.7%               19.4%               12.9%
                 E8: Slate with script variant 2    13              100.0%               38.5%               38.5%
                 E9: Slate with script variant 3    21               95.2%               71.4%               85.7%

                 Subtotal/Mean                     150              64.3%                24.0%               27.8%

TABLE I: Verification Performance for Each Experiment. Without interventions, participants’ verification performance was
remarkably poor: only 7.8% noted on an exit survey that their ballots had been altered, and only 6.6% informed a poll worker
(averaged across experiments). The various interventions we tested had widely different effects, ranging from no significant
improvement (E4, E5) to a large increase in verification success (E8, E9).


                         IV. R ESULTS                               demographics resembled the population of Ann Arbor voters
                                                                    (the city is among the most highly educated in the U.S.) [33].
A. Participant Demographics
   We recruited 241 participants. The vast majority (220, B. Verification Performance
91%) indicated that they were native English speakers; 19            To quantify verification performance, we collected three
reported speaking twelve other native languages, including data points for each participant, which are summarized in
Hungarian, Korean, and Arabic; and two subjects gave no Table I. First, an observer noted whether the subject appeared
response. Participants who disclosed their age ranged from to examine the printed ballot for at least two seconds. Second,
18 to 84 years old, with a mean of 43.7 and a median of 42; the exit survey asked, “Did you notice anything odd about your
15 subjects did not answer the question. The percentages that ballot?”, and we recorded whether the subject’s response cor-
follow are out of the total number of responses to each question: roborated the discrepancy (i.e., correctly articulated which race
Respondents identified as male (84, 35%), female (152, 64%), was changed). Third, we recorded whether subjects reported
or other (3, 1%); two did not respond. Subjects reported their the ballot modification to a poll worker. Most experiments
ethnicity as Caucasian (187, 80%), Asian (17, 7%), African saw more participants identify discrepancies in the survey
American (6, 3%), Mexican American/Chicano (5, 2%), and than were reported to poll workers, but these differences
Other Hispanic/Latino (9, 4%); others reported not having any were not statistically significant. Where applicable, we refer
of these ethnic backgrounds (2, 1%) or were multiracial (9, to participants who by some means reported detecting the
4%). Participants reported their level of educational attainment discrepancies as “noticers” and those who did not as “non-
as some high school (1, 0.4%), a high school diploma (4, 2%), noticers”.
some college (20, 8%), a two-year degree (10, 4%), a four-year       1) Performance without interventions (E1–E3): With no
degree (80, 33%), a master’s or professional degree (92, 38%), interventions, we found verification performance to be consis-
or a doctorate (34, 14%).                                         tently poor. The three experiments involved 91 participants,
   Most subjects indicated that they were registered to vote in and, averaged across the experiments, only 40% of participants
the U.S. (220, 92%), had voted in a previous election (216, examined their ballots, only 7.8% noted the error on the
91%), and had voted in the November 2018 midterm election exit survey, and only 6.6% reported it to a poll worker. We
(209, 87%). However, we note that, historically, 38–45% of did not find significant differences in performance between
non-voters have been found to falsely report having voted [10]. regular and summary ballots or between the tested attack
   Compared to the population of Ann Arbor at the time of the strategies.
2010 census, our participant pool overrepresented Caucasians         2) Effectiveness of interventions (E4–E9): The tested in-
(∆ = 7.6%) and underrepresented African Americans (∆ = terventions resulted in a wide range of effect sizes. Neither
−4.4%) and Asians (∆ = −8.7%) [54]. The study population signage (E4) nor poll worker instructions issued before the
also overrepresented females (∆ = 13%) and underrepresented participant began voting (E5) yielded a statistically significant
males (∆ = −16%) [59]. In other reported aspects, participants’ improvement to any aspect of verification performance. In



                                                                7
                  Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 15 of 23


contrast, poll worker instructions issued after the ballot was         3) Demographics: Comparisons of detection rates across
printed (E6 and E7) did have a positive effect, boosting demographic groups revealed that a strong indicator for
reporting rates to 20% on the exit survey and 14% to poll verification performance was voting experience. Subjects who
workers (averaged across the experiments).                          reported being registered to vote (N = 220) detected errors with
   The largest performance gains occurred when participants their ballots 19% of the time, while their those who did not
were directed to vote using a slate of candidates (E8 and E9). (N = 21) detected errors 4.8% of the time. Those who reported
However, only E9 produced a statistically significant difference voting previously (N = 216) caught ballot discrepancies in
in reporting rates (Fisher’s exact p < 0.001).2 Averaged across 19% of cases, again performing better than those who reported
both experiments, reporting rates increased to 55% on the exit not voting before (N = 25), who detected an error in 4.0%
survey and 62% to poll workers. E8, in which participants were of cases. If someone reported voting in the 2018 midterm
directed how to vote using a slate of candidates, saw detection election (N = 209), they detected problems with their ballot
and reporting rates of 39%, which is similar to results for DRE 20% of the time, whereas if they did not (N = 32), they detected
review screen performance found by Campbell et al. [15] and problems 3.1% of the time. This may indicate that familiarity
Acemyan et al. [1], in studies that similarly directed participants with the midterm ballot we used caused participants to feel
how to vote. With script variant 3, the use of a slate produced more invested in the accuracy of their votes; however, we did
a significant difference (comparing E7 and E9, Fisher’s exact not establish this to statistical significance.
p < 0.02) for both review and report, but it did not produce a         Other demographic factors, such as age, education, ethnicity,
significant difference using script variant 2 (comparing E6 and and gender, had no correlation with detecting manipulation.
E8). This indicates that voters may be sensitive to the specific       4) Ballot position: Noticing was correlated with ballot
instructions they receive about reviewing their ballots.            position (Pearson’s of −0.64), indicating that discrepancies
                                                                    in more prominent races are more likely to be noticed. (Race
C. Correlates
                                                                    0 was the first race on the ballot, so the number of noticers
   1) Reviewing the ballot: Reviewing the ballot at all was decreases as the race position increases, hence the negative
significantly correlated with error reporting (two-sample permu- correlation coefficient.) On our ballot, the first five races
tation test p < 0.001 with 10k repetitions). Some interventions (Governor, Secretary of State, Attorney General, U.S. Senator,
do seem to promote reviewing: E6, E8, and E9 saw significant and Representative in Congress) were prominent partisan
increases (Fisher’s exact p < 0.004), although E7 did not.          contests with a high likelihood of name recognition. In the
   2) Time to ballot submission: Careful verification takes time, experiments with no intervention (E1–E3), 37 participants had
so one might expect that participants who noticed discrepancies one of these races manipulated, and five reported the error
took more time to cast their ballots. As an upper bound on on the exit survey, a rate of 14%. Additional experiments are
how long subjects spent verifying, we calculated the time from necessary to establish the strength of this effect when combined
ballot printing to ballot submission. (Due to clock drift on with interventions.
one of our machines, data from the third day of experiments            5) Undervotes: A metric that may inform voters’ ability
was unusable, and consequently E4 and E7 are excluded from and willingness to verify their ballot is how much care they
our timing analysis.) As expected, we find that noticers took take in filling out the ballot. There are two metrics we use to
an average of 121 s between printing and ballot submission examine this: whether a participant voted in every contest on
(median 114 s), compared to only 43 s for non-noticers (median the ballot, and whether the participant voted in every available
32 s). This difference is statistically significant (two-sample position on the ballot (e.g., in a vote-for-two contests, the
permutation test p < 0.004, 10k iterations).                        participant selected two choices). Table II shows the rates of
   We compared the submission times for two sets of experi- voting in every race and every position on the ballot, with
ments: ones with extra instructions to the voter (E5, E6, E8, E8 and E9 removed as they directed participants to vote in
and E9; N = 84) and ones without (E1, E2, and E3; N = 91). every position. Voters who noticed discrepancies voted in every
The experiments that asked participants to review their ballots race or every position at a higher rate than those who did not,
saw significantly more time spent between ballot printing but not significantly so (likely due to our small sample size).
and submission (two-sample permutation test p < 0.004, 10k Since these undervotes are visible to malware running on a
iterations), an average of 83 s (median 72 s) compared to 50 s BMD, this correlation could be exploited by an attacker to
without (median 33 s).                                              focus cheating on voters who are less likely to carefully verify,
   Notably, participants who were given a slate of candidates provided future work more firmly establishes this link.
to vote for had much higher submission times (two-sample
permutation test p < 0.004, 10k iterations). Noticers in the
                                                                                           Overall      Noticers Non-noticers
slate experiments took an average of 119 s (median 111 s) and
non-noticers averaged 55 s (median 52 s). This might be partly             Every race       64.3%        73.9%          63.0%
attributed to voters having to select unfamiliar candidates and            Every position   43.0%        47.8%          42.4%
wanting to check their work.                                        TABLE II: Participant Attentiveness. Voters who noticed the
   2 All p-values were computed with a Bonferroni correction at a family-wise       discrepancy tended to vote in every race and ballot position
error rate of 0.05.                                                                 more often than those who did not.



                                                                                8
               Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 16 of 23


   6) Partisanship: To assess the role partisanship plays in using Fisher’s combining function. We found that the effect of
detection rates, we scored each ballot with a partisanship score, overlapping with a noticer did not significantly impact whether
where a vote for a Democratic candidate was scored −1 and a a participant noticed. This suggests that our interventions were
vote for a Republican candidate was scored 1, and we take the more important than overlapping.
absolute value of the sum. There were 11 opportunities to vote       9) Signage: One feature that did not correlate with improved
in a partisan way, so a participant who voted straight-party verification performance was the signage we tested (E4). Our
for either major party would achieve a score of 11. Excluding observer noted that 11 of 30 participants in the signage
E8 and E9, where voters were directed how to vote, the mean experiment did not notice the sign at all. Only two participants
partisanship score for our participants was 8.3, and the median in this experiment detected the modification of their ballot
was 11. Although our BMD did not offer an automatic “straight- and reported it, and only one accurately noted the discrepancy
party” voting option, 105 participants achieved the maximum in their survey, suggesting that passive signage alone may
partisanship score.                                                be insufficient to capture voters’ attention and shape their
   Intuitively, a voter expecting every selected candidate to be subsequent behavior.
from the same party might be more likely to notice a selection
from a different party. Looking at only these straight-party D. Participant Comments
voters, 15 out of 105 detected the errors. Of those, nine had        Participants had two free-response sections in the exit survey.
a partisan race swapped to a different candidate of a different The first asked about anything “odd” they had noticed about
party, and six of those participants wrote in the survey that they the ballot. The second invited any additional comments. Of
had detected the change based on party. For example, one par- the 241 participants, 114 responded to at least one of these
ticipant wrote, “voted GOP for governor / lieutenant governor prompts. We note several features of their responses.
but Libertarian was actually selected on the paper ballot.”          1) Discrepancy reports: In total, 44 participants (18%) noted
   This suggests that choosing a uniform set of candidates in the free response section of the survey that they had identified
may help voters detect when something has gone wrong on some discrepancy on their paper ballot. Of these, 31 correctly
their ballot, although more work is needed to establish that identified the change, 12 gave no detail (e.g., “At least one of
this is indeed the case, especially in more politically diverse my choices did not match who I picked”), and one incorrectly
populations. If this positive effect holds, it could be further identified the change (but did report that there was a mistake).
promoted with ballot designs that prominently display the party, We omitted this last participant from our “noticers” category
which could help voters see the information that is important where applicable.
to them while they review the ballot. On the other hand, BMD         Of the 44 participants who reported a change on their
malware could be designed to counter this effect by focusing ballot in the survey, five added that they thought it could
cheating on voters who do not cast a straight-party ballot.        have resulted from a mistake they made. For example, one
   7) Slate voting: 34 participants were assigned an inter- participant reported: “I don’t remember voting for the member
vention which asked them to vote for a preselected slate of Congress and there was a vote. I very well may have but
of candidates (with a partisanship score of 0). Of these, just don’t remember.”
only 26 participants voted exactly as directed. Of the eight         2) Attitudes about verification: Twelve participants men-
participants who did not, four voted a straight Democratic ticket tioned either that they would only be comfortable voting on
(partisanship score of 11), one voted a heavily Democratic ticket a paper ballot or that they were comforted by the fact that a
(score of 9), two voted slightly Democratic tickets (scores of paper trail was created. Only three of these 12 participants
3 and 5), and one voted a non-partisan ticket (score of 0), noticed that their ballot had been modified, despite the fact
which only deviated from the slate in five positions. Of the that they recognized that the paper ballot was an important
eight participants who deviated from the slate, no participant tool for ensuring election integrity.
deviated by fewer than five positions, indicating that either        Several participants seemed to realize after casting their
the deviation was deliberate or our instructions to vote the vote that the evaluation of their paper ballot was important; 13
slate were unclear. Only one deviating participant managed participants mentioned in the survey that they did not review or
to notice the discrepancy on their ballot, leaving participants that they should have reviewed the ballot, although we did not
who deviated from the slate a 13% notice rate compared to ask them about it. This concern may have been triggered by our
the 73% notice rate for those who did not deviate.                 survey question about what they had noticed about the paper
   8) Network effects: One potential feature of a live polling ballot, but it also might be an indication that our interventions
place environment is a network effect: will a voter who is did cause voters to think about the risk — albeit too late.
voting at the same time as a noticer be more likely to notice        The free responses also indicate that some participants
a problem on theirs? However, the number of people who assumed that the vote was completed and submitted on the
notice in a given experiment is a confounding factor: voters BMD, rather than the paper ballot being the official record of
are more likely to overlap with a noticer if there are more their vote. One participant wrote, “I was surprised to still have
noticers. To interrogate this, we ran partial hypothesis tests for a paper ballot, after using the touch system. I was expecting
each intervention using Fisher’s exact tests with permutations the results to be registered electronically.” This assumption
of overlapping with a noticer and noticing, and then combined may discourage voters from verifying the selections on their



                                                                 9
                Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 17 of 23


paper ballot. Similarly, another participant, prompted by script           Number of problem reports Let d be the fraction of mis-
variant 3 (“Have you carefully reviewed each selection on your             printed ballots that voters detect, report, and correct. Suppose
printed ballot?”), responded to a poll worker, “I checked it on            a contest had n ballots cast, and the reported fractional margin
the screen, it better be right.”                                           of victory was m. To have changed the outcome, the attacker
   Three participants expressed concern that they would not                would have had to successfully modify at least n m2 cast ballots.
know what to do if they noticed a problem with their paper                 However, since some modifications would have been corrected,
ballot during a real election. One person wrote, “Having the               the attacker would have had to induce errors in a greater number
                                                                                              m
printout be incorrect was confusing and it’s not clear how that            of printouts: n 2(1−d) . Under our optimistic assumptions, if the
would be handled in an election environment.”                              attack changed the outcome, we would expect the fraction of
   3) Feedback on the BMDs: We told participants that the                  voters who reported problems, a, to exceed:
experiment was a study about a new kind of voting system,                                                             d
and many left feedback about the interface and appearance                                                    a>m            .
                                                                                                                   2(1 − d)
of the machines. In Michigan, where we conducted the study,
BMDs are available in every precinct, but voters must request             The model shows that the security impact of verification
to use them. The vast majority of voters use hand-marked paper         is non-linear, because every voter who corrects an error both
ballots, so study participants were likely unfamiliar with BMD         increases the evidence that there is a problem and forces the
voting. In their comments, 21 participants expressed liking the        attacker to cheat more in order to overcome the margin of
system, while only three disliked it. Although merely anecdotal,       victory. Figure 4 illustrates this effect.
this reflects previous findings that voters like touch-screen             With the 6.6% error detection rate from our non-intervention
voting equipment [22].                                                 experiments and a close election with a 0.5% margin (the
                                                                       margin that causes an automatic recount in many states) a
                      V. S ECURITY M ODEL                              successful attack would cause as few as 0.018% of voters —
   We are primarily motivated by the threat of undetected less than 1 in 5000 — to report a problem. Small changes in
changes to election outcomes due to BMD misprinting attacks. verification performance around our base rate cause relatively
Prior work has shown that such attacks cannot be reliably ruled little change in the amount of evidence. More than doubling the
out by pre-election or parallel testing [51], and we seek to error detection rate to 14% (the rate we found for prominent
answer whether voter verification can be an effective defense. races) only increases the fraction of voters who report a
   If a voter reports that their printed ballot does not reflect their problem to 0.039%. However, larger improvements have an
on-screen selections, what should election officials do? Unfor- outsized effect: with the 86% error detection rate from our
tunately, there is not yet a practical way to prove that the BMD most successful experiment, at least 1.5% of voters (1 in 67)
misbehaved during voting. From officials’ perspective, it is also would report problems.
possible that the voter is mistaken, or even lying, and in a large Required detection rate Suppose election officials activate a
voter population, there will always be some rate of spurious countermeasure if the fraction of voters who report problems
problem reports, even when BMDs are working correctly.
   For these reasons, problem reports from voters can serve only
as evidence that something might be wrong with the BMDs.                  1.2
If the evidence exceeds some threshold, officials could invoke
                                                                                                                                    1% threshold
                                                                           voters who report a problem (%)




contingency plans. For instance, they could remove BMDs                   1.0
from service to minimize further damage, perform forensic
investigations in an attempt to uncover the cause, or even rerun          0.8

the election if outcome-changing fraud cannot be ruled out.
                                                                          0.6
   Any of these responses would be costly (and none is
foolproof), so the threshold for triggering them should not                             verbal instructions
                                                                          0.4
be too low. Moreover, attackers could exploit a low threshold                  no interventions
by recruiting voters to fraudulently report problems, in order            0.2                                             slates
to disrupt or discredit the election. On the other hand, if the                                                                   0.1% threshold
threshold is too high, outcome-changing fraud could be ignored.           0.0
                                                                              0             20             40             60     80           100
   To better understand how verification performance affects
                                                                                                        error detection rate (%)
security in this setting, we construct a simple model. We
assume, optimistically, that the attacker has no way to guess Fig. 4: BMD security is highly sensitive to human performance.
whether a particular voter is more likely than average to detect Given a 0.5% margin of victory, we plot the percentage of
the alteration, and so chooses voters to attack at random. We voters who report a problem during the minimal outcome-
further assume that whenever voters detect problems, they are changing attack as a function of the rate at which errors are
able to remedy them and cast a correct vote by hand-marking detected and corrected. This model implies that using BMDs
a ballot. Except where noted, the model assumes that all voters safely for all voters requires dramatically improved verification
cast their votes using BMDs.                                           performance or very sensitive attack detection thresholds.



                                                                      10
               Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 18 of 23


exceeds a threshold a∗ . For a given margin, the countermeasure                            VI. D ISCUSSION
will be triggered by minimal outcome-changing fraud when:
                                                                       A. Limitations
                                2a∗                                     It is challenging to capture real-world voter behavior in
                         d>             .
                              m + 2a∗                                a mock election. However, our study followed established
   An expensive countermeasure, like rerunning an election, will best practices [39], and we strived to create as realistic a
require a high trigger threshold — say, 1% of voters reporting polling environment as we could. It is impossible to know
a problem — to avoid false positives. With a 0.5% margin, exactly how well we succeeded, but the effect seems to have
reaching a 1% trigger threshold would require an error detection been convincing: several people approached us to ask whether
rate exceeding 80%. A less expensive countermeasure, such there was a real election taking place that they had not heard
as an investigation, might be triggered by a lower threshold — about. Our participants also seemed engaged in the study; many
say, 0.1%. Reaching this lower threshold in an election with a expressed strongly held political preferences in our survey (so
0.5% margin would require an error detection rate greater than much so that some refused to vote according to our slate), and
29%. This suggests that using BMDs securely for all voters a large majority reported voting in the 2018 midterm. On the
will require large improvements to verification performance or other hand, the election used a ballot that was more than nine
extremely low thresholds for triggering countermeasures.             months old, which may have reduced participant motivation,
                                                                     and we had a few participants who reported that they did not
Minimizing BMD voting helps dramatically Securing against vote in our state or were otherwise unfamiliar with our ballot.
misprinting attacks is far easier if only a small fraction of voters It is also possible that our results were skewed due to selection
use BMDs than if all in-person voters do. This is because an bias and observer effect.
attacker would be forced to cheat on a much larger fraction             Another limitation of our work is that we drew participants
of BMD ballots in order to achieve the same change to the from a population that is locally but not nationally representa-
election results. Moreover, if the population of BMD voters is tive. Our participants tended to be younger, significantly better
smaller than half the margin of victory, it is impossible for a educated, more liberal, more likely to be female, and more
BMD misprinting attack to change the outcome.                        likely to be Caucasian than the average voter in the United
   Let b be the fraction of voters who use BMDs. We can States [54]. Future work is needed to validate our study in
replace m in the expression above with mb and let a∗ be the more diverse and representative populations.
fraction of BMD voters that must report a problem to trigger            Although our results suggest that certain interventions can
the countermeasure. In Maryland, which uses hand-marked boost verification performance, the data is too sparse to
paper ballots but makes BMDs available to voters who request provide a high-fidelity understanding of the magnitude of the
them, 1.8% of voters use BMDs [34]. With a 0.5% margin, as improvements. In addition, due to time constraints, we were
in the previous example, Maryland would reach a complaint unable to test the interplay of all combinations of interventions,
threshold of 1% of BMD voters with an error detection rate of and some interventions appear to be sensitive to small changes
only 6.7%. If 5% of voters use BMDs, the error detection rate (e.g., the difference in phrasing between script variants 2
would need to be 17%. Our results suggest that these more and 3). Further study is needed to better characterize what
modest rates of verification likely are achievable, in contrast to makes interventions work and how they interact before we can
the far greater accuracy required when all voters use BMDs. confidently conclude that any particular set of procedures will
This model overestimates security An attacker might use be effective in practice.
any number of features (including several of the correlations
we observed) to focus cheating on voters who are less likely B. Discussion of Findings
to successfully catch errors. For instance, an attacker could           Our study provides the first concrete measurements of voter
preferentially modify ballots that have undervotes or a mix error detection performance using BMDs in a realistic voting
of selections from different parties. Attackers could also environment. At a high level, we found that success rates
selectively target voters with visual impairments, such as those without intervention are very low, around 6.6%. Some inter-
who use large text or an audio ballot. Other features, such as ventions that we tested did not significantly impact detection
how long voters spend inspecting the candidate review screen, rates among participants, although others improved detection
might also prove to be predictive of verification success. For drastically and may serve as a roadmap for interventions to
these reasons, our simplified model is likely to overestimate explore in further research. We discuss those interventions here.
the effectiveness of verification against sophisticated attackers.      1) Verbal instructions can improve verification: Notably, all
   We also note that some attackers may merely seek to cast interventions that involved poll workers verbally encouraging
doubt on election results by causing highly visible errors or verification between the BMD and the scanner— those in E6–
failures — which are also possible with hand-marked paper E9 — resulted in higher ballot reviewing and error reporting
ballots. However, in general, BMDs are vulnerable to all classes rates. This, coupled with the fact that reviewing the printout
of computer-based attacks that affect hand-marked paper ballots was highly correlated with error detection across all of our
and to others, such as the misprinting attack discussed here, results, suggests that interventions focused on causing the
to which hand-marked paper ballots are not susceptible.              voter to review the ballot carefully may be helpful. On the



                                                                  11
              Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 19 of 23


other hand, instructions at the beginning of the voting process after their ballot has printed but before it is scanned and ask
(E5) and passive signage (E4) had no significant effect on them to review it. Signage with a similar message to our scripts
error reporting. This pattern of effects is supported by findings placed at the optical scanner (E4) or instructions before the
from the usable security literature, which suggest that post- participants voted (E5) did not result in significant differences
completion errors can be mitigated with timely interruptions in error detection; nevertheless, further study with additional
that encourage individuals to take defensive steps [14].            variations is prudent before ruling out such strategies.
   It is worth noting that we also found that these interventions     3) Encourage personalized slate voting: Although our
caused participants to take longer to submit their ballots, on study tested randomized slates, rather than personalized slates,
average about twice as long. This could cause longer lines at the effect size was so large that we tentatively recommend
polling places if these interventions are implemented without encouraging the use of personalized slates by voters. In our
complementary procedural considerations, such as having experiments (E8 and E9), participants who were directed to
adequate space for voters to stop and review their ballots.         vote using a randomized slate (and did not deviate) reported
   2) Effectiveness of slates: Directing participants to vote errors at a rate of 73%. If voters prepare their own slates
for a provided slate of candidates, combined with verbally at home (or use a printed slate prepared, for instance, by a
prompting them to review their printouts, resulted in strongly political party or other organization), they can use them to
increased rate of error detection: 74% of participants who were check each selection on the BMD printout. We note that, since
given a slate and did not deviate from it noticed the errors. we did not directly test the use of personalized slates, further
This finding may suggest that encouraging voters to write down research is necessary to ascertain whether large performance
their preferences in advance can boost verification.                gains are actually achieved. Furthermore, even if personalized
   However, the slates we used functioned quite differently from slates are effective, the gain will be limited to the fraction of
slates likely to be used in practice. The choices we provided voters who can be induced to use them.
were randomly generated and had no basis in the subject’s             Slates have potential downsides and should be used with
preferences — in a real election, slates would reflect who the care. They have the potential to compromise ballot secrecy, so
voter intended to vote for, most likely created by the voter or we recommend providing a closed trash can, paper shredder,
their political party [29]. It is possible that the success rate we or other means for voters to privately dispose of them before
observed was primarily due to participants carefully attempting leaving the precinct. Coercion is also a threat, but voters could
to follow our instructions and vote for unfamiliar candidates. be advised to prepare multiple different slates as a defense.
Further study is needed with more realistic slate conditions          4) Help voters correct errors, and carefully track problems:
(i.e., asking subjects to write down their preferences) in order Verification-promoting interventions will be of little use if
to assess whether slates really do help voters catch errors.        action cannot be taken to remedy misbehaving BMDs —
                                                                    something that even our participants expressed concern about.
C. Recommendations                                                    First, it is crucial that polling places have a procedure for
   Since BMDs are widely used today, we recommend several voters who want to correct their printed ballots. Several subjects
strategies for improving voter verification performance. While commented that they would not know what to do if something
we are unable to conclude that these strategies will enhance was wrong with their ballot in a real election, indicating that
error detection to the point that BMDs can be used safely in this problem is present in current election procedures.
close or small elections, our findings indicate that they can help.   Second, detailed records should be kept about which BMD
   1) Design polling places for verification: Polling place lay- the voter used and what the specific issue was, including
out and procedures should be designed with verification in mind. the contest and candidates involved (to the extent that the
As we have discussed, voters need time and space to verify their voter is willing to waive ballot secrecy). Problems should be
ballots. If tables or areas to stand out of the way are provided, treated as potentially serious even when the voter believes
voters will be able to carefully verify without causing lines they are at fault — we note that several participants in our
to form or slowing polling place throughput. The presence of study believed they had made a mistake even though the BMD
such a “verification station” might also encourage verification. actually was programmed to be malicious. Problem reports
   Another practical concern is privacy. Several of our partici- should be centrally reported and tracked during the election,
pants expressed discomfort with the fact that we did not provide so that issues affecting multiple precincts can be identified as
a privacy sleeve for their ballots (a requirement in Michigan), rapidly as possible.
and that the scanner accepted the ballots face-up only, with one      5) Prepare contingency plans: What to do in the event
participant stating, “I feel like inserting the ballot face up in that BMDs are known or suspected to be misbehaving is a
the scanning machine will make people uncomfortable.” Voters more difficult question. If an elevated number of voters have a
may not feel comfortable reviewing their ballots in front of poll problem with a single machine, it should be taken out of service,
workers but may be unsure where to go to review them privately. provided there are other BMDs available for use (especially
   2) Incorporate post-voting verbal instructions: As all of for voters with disabilities, who may have no alternative).
our script-based interventions that took place after the ballot       If widespread problem reports occur— particularly problems
was printed (E6–E9) showed an increase in verification focused on a tightly contested race or significantly exceeding
performance, we recommend that poll workers interrupt voters the rate reported in past elections — officials could consider



                                                                12
               Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 20 of 23


taking most BMDs out of service and encouraging all remaining         better and more accessible voting, enabling all voters to verify
voters who can to use hand-marked ballots. This raises logistical     their printed ballots is a must.
challenges: polling place would need to have enough ballots              8) Require risk-limiting audits: Even perfectly verified
available for hand-marking, or the ability to print ballots on        paper ballots are of little use for security if they are not
demand, and votes already cast on the BMDs would be suspect.          rigorously audited to confirm the results of computer-based
   After the election, forensic analysis of the BMDs could            tabulation. Fortunately, risk-limiting audits [32] (RLAs) are
be performed to attempt to determine the cause of reported            gaining momentum in the United States. Colorado, Nevada, and
errors. Unfortunately, such analysis cannot in general rule out       Rhode Island mandate statewide RLAs, and states including
that a sophisticated attack occurred and left no digital traces.      Michigan, Virginia, Georgia, and Pennsylvania are considering
Even if programming errors or attacks are uncovered, they may         implementing them soon [17]. RLAs and effective verification
be impossible to correct if officials are unable to determine         are both necessary in order for paper to provide a strong defense
whether the effects were large enough to change the election          against vote-stealing attacks, and we recommend that efforts
outcome. The only recourse might be to re-run the election.           to achieve both be pursued vigorously.
   Our findings show that, in the event of an actual error or                                VII. C ONCLUSION
attack, the rate of reported problems is likely to be only the tip       We conducted the first empirical study of how well voters
of the iceberg. In our non-intervention experiments, undetected       using BMDs detect errors on their printed ballots, which is a
errors outnumbered reported problems by almost twenty to one.         limiting factor to the level of security that a BMD-based paper
Our results further suggest that an attacker who cleverly focused     trail can provide. Based on the performance of 241 human
cheating on voters who were less likely to verify could achieve       subjects in a realistic polling place environment, we find that,
an even higher ratio of undetected errors. An effective response      absent specific interventions, error detection and reporting
requires either being very sensitive to reported problems —           rates are dangerously low. Unless verification performance can
which increases the chances that an attacker could trigger false      be improved dramatically, BMD paper trails, particularly when
alarms — or achieving very high error correction rates.               used by all in-person voters, cannot be relied on to reflect
   6) Educate voters about BMD operations and risks: Like             voter intent if the machines are controlled by an attacker.
in other human-in-the-loop security contexts, greater education          Nevertheless, we also find that procedural interventions can
could boost voters’ awareness of the importance of careful            improve rates of error detection and reporting, potentially
verification and boost error detection and reporting rates.           increasing the security offered by BMDs. The interventions
   To this end, we recommend educating voters that the paper,         we tested should serve as examples of what is and is not
rather than what the BMD screen shows, is the official record         likely to be effective, and we hope they will point the way
of their votes. Several of our participants said they realized        for further research and experimentation. These findings add
after scanning that they should have, but did not, review their       to the broad literature of human-in-the-loop security results
printouts. Others stated that they had checked the review screen      and recommendations, and they provide additional examples
on the machine and that they trusted the paper to be correct.         of what does and does not work in human-centric security.
It is likely that many participants incorrectly assumed that the         Our results should not be read as demonstrating that BMDs
BMDs, rather than the paper and scanner, tabulated their votes.       can be used securely. Further work is needed to explore the
   We also recommend educating voters about the possibility           potential for attackers to predict which voters will verify,
of BMD malfunction. Many of our participants seem not to              and additional human-subjects testing is necessary to confirm
have even considered that the machine might have changed              whether sufficient rates of verification success can be achieved
their votes, as indicated by the voters who blamed themselves         in practice. The cost of implementing interventions and
for the misprinted ballots. Raising threat awareness could help       contingency plans may also be prohibitive. Nevertheless, BMDs
motivate voters to carefully inspect the paper, as well as give       do offer advantages, including uniform accessibility and ease of
them greater confidence to report any discrepancies they detect.      administration. We hope our work will help election officials
                                                                      make better informed choices as they weigh these benefits
   7) Consider the needs of voters with disabilities: Further
                                                                      against the security risks of using BMDs for all voters.
research is needed to specifically examine verification per-
formance among voters with disabilities, but we offer some                                ACKNOWLEDGMENTS
initial recommendations here. Detecting errors in printed ballots       The authors are grateful to Jackie Fleischer Best, Eli
may be especially challenging for voters with impaired vision.        Neiburger, Emily Howard, Matt Dubay, and everyone at the
Designing BMD ballots for maximum legibility might help, and          Ann Arbor District Library, without whom this study would
so might encouraging voters who use text-to-speech devices to         not have been possible. We also thank Philip Stark for advice
bring them to the polls for use during verification. Jurisdictions    about our statistical analyses; Ben Adida, Monica Childers,
could also provide air-gapped accessible devices to read the          and Ben VanderSloot for feedback about the experimental
ballot back to voters, in case voters do not have their own text-     design; and the anonymous reviewers. This material is based in
to-speech devices. These steps would have the added benefit           part upon work supported by the National Science Foundation
of reinforcing the message that the content of the paper ballots      under Grant No. CNS-1518888, by the Facebook Fellowship
is what gets counted. If BMDs are to live up to the promise of        Program, and by the Andrew Carnegie Fellows Program.



                                                                 13
                  Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 21 of 23


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                  Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 22 of 23


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               Case 1:17-cv-02989-AT Document 692-3 Filed 01/08/20 Page 23 of 23


                         A PPENDIX A                                                                  A PPENDIX B
                    P OLL W ORKER S CRIPT                                                         R ECRUITMENT S CRIPT
    Our poll workers followed four versions of the script below:          An investigator used the following script to recruit library
a baseline version, and three variants that each add one line. patrons to participate in the study:
VARIANT 1: Before the voter begins using the BMD, a poll Hello, do you have 10 minutes to participate in a study about
       worker asks them to check their ballot before it is scanned. a new kind of voting machine that is used in elections across
VARIANT 2: Before the voter deposits the ballot, a poll worker the United States? This study will consist of voting using our
       informs them that it is the official record of the vote.        voting machine and depositing a printed paper ballot into a ballot
VARIANT 3: Before the voter deposits the ballot, a poll worker box, and then filling out a survey about the experience. If you
       asks whether they have carefully reviewed each selection. would like to participate, we will need you to first sign a consent
                                                                       form. We will provide a flyer at the end of your participation
When Subject Arrives (P OLL W ORKER A)                                 with information about the study. We cannot make all details
Hello! Before you begin, please fill out this Institutional Review available at this time, but full details and research results will be
Board consent form. [ Point to form and pen.] If you have any made available within six months of the conclusion of this study.
questions, feel free to ask.                                           We thank you for your consideration and hope you choose to
                                                                       participate!
You are about to participate in a study about the usability of
a new type of voting machine. You will be using one of these                                           A PPENDIX C
voting machines to make selections on your ballot, which will be       S LATE   OF   C ANDIDATES        FOR D IRECTED VOTING C ONDITION
a truncated version of the Ann Arbor 2018 midterm ballot. Once            We randomly generated a slate of candidates and provided
you are finished, your ballot will be printed from the printer a printed copy to voters in certain experiments. The handout
beneath the machine, and you can review your ballot and deposit voters received is reproduced below:
it in the ballot box over there. [ Point out ballot box.] Feel free to
vote your political preference or not; no identifying information                         Race                               Candidate(s)

will be collected that could match you with your votes. If you                                                Bill Gelineau and
                                                                         Governor and Lieutenant Governor
                                                                                                              Angelique Chaiser Thomas
would like to quit at any time during the study, just say so.
                                                                        Secretary of State                         Mary Treder Lang
VARIANT 1: Please remember to check your ballot carefully
                                                                        Attorney General                           Lisa Lane Gioia
before depositing it into the scanner.
                                                                        United States Senator                      Debbie Stabenow
You may begin at any time.                                              Representative in Congress 12th District   Jeff Jones

                                                                        Member of State Board of Education         Tiffany Tilley
Before Subject Deposits Ballot (P OLL W ORKER B)                        (Vote for 2)                               Mary Anne Hering

VARIANT 2: Please keep in mind that the paper ballot is the             Regent of the University of MIchigan       Jordan Acker
                                                                        (Vote for 2)                               Joe Sanger
official record of your vote.
                                                                        Trustee of Michigan State University       Mike Miller
                                                                        (Vote for 2)                               Bruce Campbell
VARIANT 3: Have you carefully reviewed each selection on your
printed ballot?                                                         Justice of the Supreme Court               Megan Kathleen Cavanagh
                                                                        (Vote for 2)                               Kerry Lee Morgan

                                                                        Judge of Court of Appeals 3rd District     Jane Marie Beckering
After Subject Deposits Ballot (P OLL W ORKER B)
                                                                        Incumbent Position ​(Vote for 2)           Douglas B. Shapiro

Thank you for participating! You are now finished with the study,       Judge of Circuit Court 22nd Circuit        Timothy Patrick Connors
and should fill out the exit survey. [ Point to debrief survey          Incumbent Position ​(Vote for 2)           Carol Kuhnke

computers.]                                                             Judge of Probate Court Incumbent
                                                                                                                   Darlene A. O’Brien
                                                                        Position

After Subject Completes Exit Survey (P OLL W ORKER B)                   Judge of District Court 14A District
                                                                                                                   Thomas B. Bourque
                                                                        Incumbent Position
Thank you for your participation! You are now finished. If you
have any questions about this study, you may ask them now,
although I am unable to answer some questions due to the nature
of the research. Here is a debrief form. [ Hand subject a debrief
form.] If you think of anything after you leave, you can reach
[me/the principle investigators] through the information on the
debrief form.
If you know anyone who might like to participate, please refer
them here; we will be here [remaining time].
Thank you again for participating!



                                                                   16
